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                                                       UNITED STATES DISTRICT COURT
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                                                            DISTRICT OF NEVADA
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                                                                         2:12-CV-114 JCM (VCF)
                  8       UNITED STATES OF AMERICA,

                  9                       Plaintiff,
                10        v.
                11
                          BEN KIM and LISA KIM,
                12
                                          Defendants.
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                14                                                    ORDER
                15             Presently before the court is a motion to withdraw filed by government attorney Mary Ann
                16      McCarthy. (Doc. # 31). There is no response in opposition.
                17             Ms. McCarthy has advised the court that she is withdrawing as an attorney for the United
                18      States in this case and that another government attorney will represent the government.
                19             Good cause appearing,
                20             IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the government motion
                21      to withdraw as attorney (doc. # 31) be, and the same hereby, is GRANTED. The new government
                22      attorney shall file notice of appearance within thirty (30 ) days.
                23             DATED March 1, 2013.
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                                                               UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge
